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 6                             IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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10   UNITED STATES OF AMERICA,                     )      CASE NO. 1:08 CR-201
                                                   )
11                   Plaintiff,                    )      ORDER
                                                   )
12           vs.                                   )
                                                   )
13   MARIO CHAVEZ CABRERA,                         )
     PETER HALANDARIS, et., al.                    )
14                                                 )
                     Defendant.                    )
15                                                 )
16           For the reasons set forth in this stipulation, and good cause shown the setting date now
17   schedule for July 28, 2008 is continued until September 8, 2008 at 1:30 p.m.. Time is excluded
18   pursuant to 18U.SC.3161 (h)(8)(b)(iv) would deny the Defendant or the Government continuity of
19   counsel and reasonable time necessary for effective preparation, taking into account due diligence.
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23   Dated: July 25, 2008
                                           /s/ OLIVER W. WANGER
24                                         United States District Judge Eastern District of California
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     STIPULATION TO CONTINUE
